                 Case 2:11-cr-00327-DAD Document 63 Filed 10/11/11 Page 1 of 2


1    DANIEL BRODERICK, Bar # 89424
     Federal Defender
2    LEXI NEGIN, Bar # 250376
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     JACQUELIN WADE
6
                                   IN THE UNITED STATES DISTRICT COURT
7
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
8
     UNITED STATES OF AMERICA,                        )   No. 11-CR-327- MCE
9                                                     )
                            Plaintiff,                )
10                                                    )   STIPULATION AND TO MODIFY
            v.                                        )   CONDITIONS OF RELEASE
11                                                    )
     JACQUELIN WADE,                                  )
12                                                    )
                                                      )
13                     Defendant.                     )
     _______________________________                  )
14                                                    )
15
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel,
16
     KYLE REARDON, Assistant United States Attorney, and LEXI NEGIN, Assistant Federal Defender,
17
     attorney for defendant, that the conditions of pretrial supervision be modified to remove Special Condition
18
     Number 7 requiring drug and alcohol testing.
19
            Ms. Wade is completely compliant with all conditions of release and has a newborn baby. The
20
     Pretrial Services Officer agrees with this modification.
21
            All other conditions of release shall remain in effect
22
23
     October 6, 2011                                      Respectfully submitted,
24
                                                          DANIEL BRODERICK
25                                                        Federal Defender
26                                                           /S/LEXI NEGIN
                                                          LEXI NEGIN
27                                                        Assistant Federal Defender
                                                          Attorney for Defendant
28                                                        JACQUELIN WADE
             Case 2:11-cr-00327-DAD Document 63 Filed 10/11/11 Page 2 of 2


1
2
3                                             BENJAMIN B. WAGNER
                                              United States Attorney
4
5                                               /S/ KYLE REARDON
                                              KYLE REARDON
6                                             Assistant U.S. Attorney
7
                                           ORDER
8
           IT IS SO ORDERED.
9
     DATED: October 7, 2011
10
11
                                              ____________________________________
12                                            KENDALL J. NEWMAN
                                              UNITED STATES MAGISTRATE JUDGE
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